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                     UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF CALIFORNIA




TERRY MORRIS,                        )
                                     )   1:10-CV-01843 OWW DLB
                                     )
                    Plaintiff,       )
                                     )
        v.                           )   ORDER DISMISSING ACTION
                                     )
PROFESSIONAL RECOVERY SERVICES,      )
INC.,                                )
                                     )
                                     )
                    Defendants.      )
                                     )
                                     )


        Pursuant to the notice of voluntary dismissal filed

pursuant to FRCvP 41,

        IT IS HEREBY ORDERED that this matter is dismissed without

prejudice.



IT IS SO ORDERED.

Dated: December 23, 2010               /s/ Oliver W. Wanger
emm0d6                            UNITED STATES DISTRICT JUDGE




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